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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
In re                                                           :
                                                                :      Chapter 11
FAIRWAY GROUP HOLDINGS                                          :
CORP., et al.,                                                  :      Case No. 20-10161 (JLG)
                                                                :
                             1
                  Debtors.                                      :      (Joint Administration Pending)
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                          NOTICE OF COMMENCEMENT OF
               CHAPTER 11 CASES AND AGENDA FOR FIRST DAY HEARING

               PLEASE TAKE NOTICE that on January 23, 2020 (the “Commencement
Date”), Fairway Group Holdings Corp. and its debtor affiliates, as debtors and debtors in
possession in the above-captioned chapter 11 cases (collectively, the “Debtors”), each filed a
voluntary petition for relief under chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”) with the United States Bankruptcy Court for the Southern District of New
York (the “Bankruptcy Court”).

             PLEASE TAKE FURTHER NOTICE that hearing (the “First Day Hearing”)
has been scheduled for January 27, 2020 at 2:00 p.m. (Eastern Time) before the Honorable
James L. Garrity, Jr., United States Bankruptcy Judge, United States Bankruptcy Court for

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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are as follows: Fairway Group Holdings Corp. (2788); Fairway Group Acquisition Company (2860); Fairway
Bakery LLC (4129); Fairway Broadway LLC (8591); Fairway Chelsea LLC (0288); Fairway Construction Group,
LLC (2741); Fairway Douglaston LLC (2650); Fairway East 86th Street LLC (3822); Fairway eCommerce LLC
(3081); Fairway Georgetowne LLC (9609); Fairway Greenwich Street LLC (6422); Fairway Group Central Services
LLC (7843); Fairway Group Plainview LLC (8643); Fairway Hudson Yards LLC (9331); Fairway Kips Bay LLC
(0791); FN Store LLC (9240); Fairway Paramus LLC (3338); Fairway Pelham LLC (3119); Fairway Pelham Wines
& Spirits LLC (3141); Fairway Red Hook LLC (8813); Fairway Stamford LLC (0738); Fairway Stamford Wines &
Spirits LLC (3021); Fairway Staten Island LLC (1732); Fairway Uptown LLC (8719); Fairway Westbury LLC (6240);
and Fairway Woodland Park LLC (9544). The location of the Debtors’ corporate headquarters is 2284 12th Avenue,
New York, New York 10027. Fairway Community Foundation Inc., a charitable organization, owned by Fairway
Group Holdings Corp., is not a debtor in these proceedings.




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the Southern District of New York, One Bowling Green, Room 601, New York, New York
10004.

                PLEASE TAKE FURTHER NOTICE that an agenda with respect to the First
Day Hearing is set forth below. Copies of each pleading identified below can be viewed and/or
obtained by: (i) accessing the Court’s website at www.nysb.uscourts.gov, (ii) contacting the Office
of the Clerk of the Court at One Bowling Green, New York, New York 10004, or (iii) from the
Debtors’ proposed notice and claims agent, Omni Agent Solutions (“Omni”), at
www.omniagentsolutions.com/fairway or by calling (866) 662-2295 (toll free) for U.S.-based
parties; or (818) 906-8300 for International parties or by e-mail at Fairway@omniagnt.com. Note
that a PACER password is needed to access documents on the Court’s website.

                              AGENDA FOR JANUARY 27, 2020 AT 2:00 P.M. HEARING

I.        Introduction:

                    Introduction –Weil, Gotshal & Manges LLP

II.       Motions and Related Pleadings to Be Heard:

               1.        Motion of Debtors for Entry of an Order Directing Joint Administration of
                         Related Chapter 11 Cases [ECF No. 3]

               2.        Motion of Debtors for Entry of Order (I) Authorizing Debtors to (A) Continue
                         Using Existing Cash Management System, Bank Accounts, and Business
                         Forms, (B) Implement Changes to Cash Management System in the Ordinary
                         Course of Business, and (C) Continue Intercompany Transactions; (II)
                         Confirming Administrative Expense Priority for Postpetition Intercompany
                         Claims; and (III) Granting Related Relief [ECF No. 8]

               3.        Motion of Debtors for (I) Authority to (A) Obtain Postpetition Financing, (B)
                         Use Cash Collateral, (C) Grant Liens and Provide Superpriority Administrative
                         Expense Status, (D) Grant Adequate Protection, (E) Modify the Automatic
                         Stay, and (F) Schedule a Final Hearing and (II) Related Relief [ECF No. 20]

               4.        Motion of Debtors for Authority to (I) Pay Certain Prepetition Wages and
                         Reimbursable Employee Expenses, (II) Pay and Honor Employee Medical and
                         Other Benefits, (III) Continue Employee Benefits Programs, and (IV) Related
                         Relief [ECF No. 13]

               5.        Motion of Debtors for (I) Authority to Pay Certain Prepetition Obligations to
                         Critical Vendors; (II) Approval of Related Procedures; and (III) Related Relief
                         [ECF No. 17]

               6.        Motion of Debtors for (I) Authority to (A) Maintain Certain Trust Fund
                         Programs, (B) Release Certain Funds Held in Trust, (C) Continue to Perform
                         and Honor Related Obligations and (II) Related Relief [ECF No. 14]




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               7.        Motion of Debtors for Authority to (I) Pay Prepetition Claims of Shippers and
                         Miscellaneous Lien Claimants, (II) Confirm Administrative Expense Priority
                         of Undisputed Commencement Date Orders and Satisfy Such Obligations in the
                         Ordinary Course of Business, and (III) Pay PACA/PASA Claims [ECF No. 11]

               8.        Motion of Debtors for (I) Authorization to (A) Continue to Maintain their
                         Insurance Policies and Programs and Surety Bond Program and (B) Honor all
                         Obligations with Respect Thereto; (II) Modification of the Automatic Stay with
                         Respect to the Workers Compensation Program; and (III) Related Relief [ECF
                         No. 16]

               9.        Motion of Debtors for Authorization to Pay Certain Prepetition Taxes and
                         Fees [ECF No. 12]

               10.       Motion of Debtors for Entry of an Order Establishing Notification Procedures
                         and Approving Restrictions on Certain Transfers of Interests in the Debtors
                         [ECF No. 22]

               11.       Motion of Debtors for Authority to (I) Maintain and Administer Prepetition
                         Customer Programs, Promotions and Practices and (II) Pay and Honor Related
                         Prepetition Obligations [ECF No. 10]

               12.       Motion of Debtors for Entry of an Order (I) Extending Time to File (A)
                         Schedules of Assets and Liabilities, Schedules of Executory Contracts and
                         Unexpired Leases, and (B) Statements of Financial Affairs; (II) Authorizing
                         Debtors to (A) File a Consolidated List of Creditors (B) File a Consolidated
                         List of Debtors' 40 Largest Unsecured Claims, (III) Redact Certain Personal
                         Identification Information for Individual Creditors and Interest Holders, and
                         (IV) Approving Form and Manner of Notifying Creditors of Commencement
                         of These Chapter 11 Cases [ECF No. 6]

               13.       Application of Debtors Pursuant to 28 U.S.C. § 156(c), 11 U.S.C. §
                         503(b)(1)(A), and Local Rule 5075-1 for Authority to Retain and Employ Omni
                         Agent Solutions as Claims and Noticing Agent Nunc Pro Tunc to the
                         Commencement Date [ECF No. 15]

III.      Motions to be Noticed:

               14.       Motion of Debtors Requesting Entry of an Order (I) Approving Debtors
                         Proposed Form of Adequate Assurance of Payment to Utility Providers, (II)
                         Establishing Procedures for Determining Adequate Assurance of Payment for
                         Future Utility Services; and (III) Prohibiting Utility Providers from Altering,
                         Refusing, or Discontinuing Utility Service [ECF No. 18]

               15.       Motion of Debtors for Entry of Orders (I)(A) Approving Bidding Procedures
                         for Sales of Debtors' Assets, (B) Approving Stalking Horse Bid Protections, (C)
                         Authorizing Designation of Additional Stalking Horse Bidders, (D) Scheduling
                         Auctions for and Hearings to Approve Sales of Debtors' Assets, (E) Approving


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                         Form and Manner of Notice of Sales, Auctions, and Sale Hearings, (F)
                         Approving Assumption and Assignment Procedures and Form and Manner of
                         Notice of Assumption and Assignment, and (G) Granting Related Relief; and
                         (II)(A) Authorizing Sale of Debtors' Assets Free and Clear of Liens, Claims,
                         Interests, and Encumbrances, (B) Authorizing Assumption and Assignment of
                         Executory Contracts and Unexpired Leases, and (C) Granting Related Relief
                         [ECF No. 21]

               16.       Motion of Debtors for Entry of an Order Implementing Certain Notice and Case
                         Management Procedures [ECF No. 9]

IV.       Related Pleadings:

               17.       Declaration of Abel Porter Pursuant to Rule 1007-2 of Local Bankruptcy Rules
                         for Southern District of New York [ECF No. 25]

               18.       Declaration of Michael Nowlan Pursuant to Rule 1007-2 of Local Bankruptcy
                         Rules for Southern District of New York [ECF No. 5]

               19.       Debtors’ Corporate Ownership Statement Pursuant to Fed. R. Bankr. P.
                         1007(a)(1) and 7007.1 and Local Rule 1007-3 [ECF No. 2]



Dated: January 23, 2020
       New York, New York
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